108 F.3d 1372
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Rickey R. LLOYD, Plaintiff-Appellant,v.Talmadge BARNETT;  J.J. Clark, Defendants-Appellees.
    No. 96-7192.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 27, 1997.Decided March 11, 1997.
    
      Rickey R. Lloyd, Appellant Pro Se.
      Sharon Coull Wilson, Associate Attorney General, Raleigh, NC, for Appellees.
      Before MURNAGHAN, NIEMEYER, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Lloyd v. Barnett, No. CA-95-519-5-BO (E.D.N.C. July 12, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    